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NVB 5075 (Rev. 1/19)


                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA


 IN RE:                                                          BK−21−12509−abl
                                                                 CHAPTER 7
 LEVEL UP DEVELOPMENTS LLC
     dba LEVEL UP HOLDINGS LLC

                                                                 NOTICE OF DOCKETING
                                    Debtor(s)                    ERROR




NOTICE IS ORDERED that the following docket entry requires correction:

           Docket Number/Entry:                 91 − Declaration Of: JEFFREY MAZEK IN SUPPORT OF THE
                                                MOTION OF THE HUNTINGTON NATIONAL BANK
                                                PURSUANT TO 11 U.S.C. § 362(d) FOR RELIEF FROM THE
                                                AUTOMATIC STAY AND FOR OTHER RELIEF Filed by
                                                BRIAN R. IRVINE on behalf of THE HUNTINGTON
                                                NATIONAL BANK (Related document(s)89 Motion for Relief
                                                from Stay filed by Creditor THE HUNTINGTON NATIONAL
                                                BANK) (IRVINE, BRIAN)
           Filed On:                            10/5/21
           With A Hearing Date Of:              N/A
           And A Hearing Time Of:               N/A

The reason(s) for the required correction(s) is as follows:

   *      PDF document appears to be missing pages and must be re−filed in its entirety as an amended document
          immediately.
   *      PAGES 67, 83 and 85 ARE BLANK




Dated: 10/6/21


                                                              Mary A. Schott
                                                              Clerk of Court



           For additional information, please visit the court's web site at https://www.nvb.uscourts.gov
